8/2/2019                                                                           Details
                 Case 3:19-cv-01857-L Document 1-4 Filed 08/05/19                                  Page 1 of 11 PageID 12




              Case Information

              CC-18-06429-C | BHUM! JARIWALA, CHANDNI VfHAN, MANISH JARIWALA vs.BMW OF NORTH AMERICA.
              LLC, RHIMA INVESTMENTS, INC., D/B/A E-CARONE


              Case Number                                 Court                                    Judicia! Officer
              CC-18-06429-C                               County Court at Law No. 3                MONTGOMERY, SALLY
              Fiie Date                                   Case Type                                Case Status
              11/19/2018                                  DAMAGES (NON COLLISION)                  OPEN




              Party

              PLAINTIFF                                                                            Active Attorneys^
              JARIWALA, BHUMI                                                                      Lead Attorney
                                                                                                   QUDSI, OBAIRA
                                                                                                   Retained




              PLAINTIFF                                                                            Active Attorneys v
              V1HAN, CHANDNI                                                                       Lead Attorney
                                                                                                   QUDSI, OBAIRA
                                                                                                   Retained




              PLAINTIFF                                                                            Active Attorneys v
              JARIWALA, MAN1SH                                                                     Lead Attorney
                                                                                                   QUDSI/ OBAIR A
                                                                                                   Retained




              DEFENDANT                                                                            Active Attorneys •
              BMW OF NORTH AMERICA, LLC                                                            Lead Attorney

https ://courtsportal.d allascounty.org/DAL LAS PROD/HomeAft/orkspace Mode? p=0#Case Information                            1/11
8/2/2019                                                                  Details
             Case 3:19-cv-01857-L Document 1-4 Filed 08/05/19
            Address
                                                                                          Page 2 of
                                                                                           MYERS,    11 PageID 13
                                                                                                  J MICHAEL
            REG AGENT: CT CORPORATION SYSTEM                                               Retained
            1999BRYANST.,STE900
            DALLAS TX 75201




            DEFENDANT                                                                      Active Attorneys^
            RHIMA INVESTMENTS, INC., D/B/A E-CARONE                                        Lead Attorney
                                                                                           SAID, MOHAMMAD
            Address
                                                                                           Retained
            REG AGENT: MOTAZ RHIMA
            1875 N. INTERSTATE 35E
            CARROLLTON TX 75006




            Events and Hearings


                11/19/2018 NEW CASE FILED (OCA)


                11/19/2018 ORIGINAL PETITION ^


               PLTF'S ORIGINAL PETITION

               CIVIL CASE INFORMATION SHEET

                  Comment
                  STILL OWES $4 FOR CITATION AND COPY FEES IS SERVICE IS REQUESTED


                11/28/2018 CORRESPONDENCE-LETTER TO FILE ^


                PLAINTIFFS REQUEST FOR iSSUANCE OF CITATION AND SERVICE OF CONSTABLE

                  Comment
                  PLAINTIFFS REQUEST FOR ISSUANCE OF CITATION AND SERVICE OF CONSTABLE


                11/30/2018 ISSUE CITATION ^


                ISSUE CITATION

                ISSUE CITATION


                01/11/2019 CORRESPONDENCE - LETTER TO FILE ^


                NOTE FOR $4.00 CITATION PAYMENT


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#Caselnformation                             2/11
8/2/2019                          Details
          Case 3:19-cv-01857-L Document 1-4 Filed 08/05/19
          LETTER TO REQUEST
                                                             Page 3 of 11 PageID 14

            Comment
            $4.00 CITATION PAYMENT


          01/14/2019 CITATION (SERVICE)^


          Anticipated Server
          CONSTABLE 1

          Anticipated Method
          Actual Server
          CONSTABLE 1

          Returned
          01/22/2019
          Anticipated Server
          CONSTABLE 3

          Anticipated Method
          Actual Server
          CONSTABLE 3

          Returned
          02/12/2019


          01/22/2019 RETURN OF SERVICE ^


          RETURN OFSERViCE

            Comment
            CITATION SERVED ON 01/15/2019 @1:10PM


          02/01/2019 ORIGINAL ANSWER - GENERAL DENIAL ^


          ORIGINAL ANSWER


          02/01/2019 JURY DEMAND ^


          JURY DEMAND

            Comment
            JURY DEMAND


          02/01/2019 JURY TRIAL DEMAND


          02/11/2019 ORIGINAL ANSWER - GENERAL DENIAL ^


          ORIGINAL ANSWER


          02/12/2019 RETURN OF SERVICE ^


          RETURN OF SERVICE

            Comment
            CITATION WAS SERVED ON 1/29/2019 @3:09PM

https://courtsportal.dallascounty.org/DALLASPROD/HomeAA/orkspaceMode?p=0#Caselnformation 3/11
8/2/2019                          Details
         Case 3:19-cv-01857-L Document 1-4 Filed 08/05/19        Page 4 of 11 PageID 15
          02/18/2019 RESPONSE ^


          RESPONSE

          CORRESPONSE LETTER TO FILE

          CORRESPONSE LETTER TO FiLE

            Comment
            DISCLOSURE


          04/05/2019 MOTION - COMPEL ^


          MOTION TO COMPEL

          PROPOSED ORDER TO COMPEL

            Comment
            RE: ARBITRATION W/ PROPOSED ORDER TO COMPEL


          04/05/2019 NOTiCE - HEARiNG ^


          NOTICE OF HEARING


          04/08/2019 ORDER - MEDIATION ^


          ORDER - MEDIATION


          04/08/2019 ORDER - SCHEDULING <"


          ORDER-SCHEDULING


          04/09/2019 MOTION - ENTER ORDER ^


          EXHIBIT 1

          EXHIBIT 2

          MOTION TO ENTER ORDER

            Comment
            MOTION TO ENTER DISCOVERY AND DOCKET CONTROL PLAN


          04/09/2019 NOTICE - HEARING ^


          NOTICE OF HEARING


          04/18/2019 VACATION LETTER


          04/19/2019 AMENDED ANSWER - AMENDED GENERAL DENIAL ^


          1 ST AMENDED ANSWER

            Comment
            1ST

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#Caselnformation 4/11
8/2/2019                            Details
           Case 3:19-cv-01857-L Document 1-4 Filed 08/05/19         Page 5 of 11 PageID 16
            04/23/2019 MOTION - COMPEL ^


            EXHIBIT

            MOTION TO COMPEL


            04/23/2019 NOTICE - HEARING ^


            NOTICE OF HEARING


            04/26/2019 RESPONSE ^


           PLAINTIFFS' RESPONSE TO DEFENDANT RHIMA INVESTMENTS' MOTION TO COMPEL
           ARBITRATION

               Comment
               PLAINTIFFS' RESPONSE TO DEFENDANT RHIMA INVESTMENTS' MOTION TO COMPEL
               ARBITRATION


            04/29/2019 MOTiON - COMPEL ^


            Judicial Officer
            MONTGOMERY, SALLY

            Hearing Time
            09:30 AM

            Result
            CONTINUED

            Comment
            DANIELLA 972-789-1664


            05/06/2019 SUPPLEMENTAL PETITION ^


            SUPPLEMENT TO PLAINTIFF'S ORIGINAL PETiTION


            05/08/2019 AMENDED ANSWER - AMENDED GENERAL DENIAL ^


            SECOND AMENDED ANSWER

               Comment
               SECOND AMENDED


            05/24/2019 AMENDED ANSWER - AMENDED GENERAL DENIAL ^


            3RD AMENDED ANSWER

               Comment
               3RD


            05/28/2019 MOTION - MISCELLANEOUS -


            EXHIBIT 1


h ttps://cou rtsporta 1.da llascounty. o rg/DAL LAS PROD/Home/Works pace M ode? p=0#Case Information 5/11
8/2/2019                          Details
         Case  3:19-cv-01857-L Document 1-4 Filed 08/05/19
          EXHIBIT 2
                                                                 Page 6 of 11 PageID 17

          EXHIBIT 3

          MOTION OF DEFENDANT BMW OF NORTH AMERiCA, LLC FOR ENTRY OF AMENDED DOCKET
          CONTROL ORDER

             Comment
             MOTION OF DEFENDANT BMW OF NORTH AMERICA, LLC FOR ENTRY OF AMENDED DOCKET
             CONTROL ORDER W/ EXHIBITS 1-3


          05/29/2019 NOTICE ~ HEARING ^


          NOTICE OF HEARING MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER

             Comment
             MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER


          05/31/2019 RULE 11 AGREEMENT ^


          RULE 11 AGREEMENT


          06/10/2019 MOTION - HEARING «r


          EXHIBIT 1

          EXHJBIT2

          EXHIBIT 3

          MOTION OF DEFENDANT BMW OF NORTH AMERICA, LLC FOR ENTRY OF AMENDED DOCKET
          CONTROL ORDER

          Judicial Officer
          MONTGOMERY, SALLY

          Hearing Time
          1:15 PM

          Cancel Reason
          REQUESTED BY JUDGE

          Comment
          MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER LAURA 210-503-6733


          06/11/2019 NOTICE - HEARING ^


          NOTICE OF HEARING


          06/12/2019 AMENDED ANSWER - AMENDED GENERAL DENIAL ^


          FOURTH AMENDED ANSWER

             Comment
             FOURTH AMENDED


          06/12/2019 MOTION - LEAVE ^



https://courtsportal.dallascounty,org/DALLASPROD/Home/WorkspaceMode?p=0#Caselnformation 6/11
8/2/2019                          Details
         Case 3:19-cv-01857-L Document 1-4 Filed 08/05/19
          PROPOSED ORDER FOR LEAVE
                                                                   Page 7 of 11 PageID 18

          MOTION FOR LEAVE

             Comment
             TO DESIGNATE JOHN/JANE DOE AS A RESPONSIBLE THIRD PARTY


          06/12/2019 MOTION - LEAVE ^


          PROPOSED ORDER FOR LEAVE

          MOTION FOR LEAVE

             Comment
             TO DESIGNATE JOSE D ALVARADO AS A RESPONSIBLE THIRD PARTY


          06/17/2019 MOTION - HEARING -F


          Judicial Officer
          MONTGOMERY, SALLY

          Hearing Time
          02:45 PM

          Result
          HEARING HELD

          Comment
          MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER FILED 5/28/19 LAURA 210-503-6733


          06/20/2019 NOTICE ^


          NOTICE OF JOINING DEFENDANT BMW OF NORTH AMERICA, LLC'S MOTION FOR LEAVE TO JOIN
          ADDITIONAL PARTY

             Comment
             NOTICE OF JOINING DEFENDANT BMW OF NORTH AMERICA, LLC'S MOTION FOR LEAVE TO
             JOIN ADDITIONAL PARTY


          06/25/2019 ORDER - SCHEDULING ^


          ORDER-SCHEDULING

             Comment
             UNIFORM(LEVEL 2)


          07/11/2019 MOTION - PARTIAL DISMISSAL ^


          MOTION FOR PARTIAL DISMISSAL


          07/12/2019 RETURN OF SERVICE ^


          RETURN OF SERVICE

             Comment
             SUBPOENA SERVED ON 7/10/19 @ 3:30 PM



httpsV/courtsportal.dalla5COunty.org/DALLASPROD/Home/WorkspaceMode?p-0#Caselnformation 7/11
8/2/2019                            Details
         Case 3:19-cv-01857-L Document 1-4 Filed 08/05/19         Page 8 of 11 PageID 19
          07/15/2019 RETURN OF SERVICE ^


          RETURN OF SERVICE

            Comment
            SUBPOENA SERVED ON 7/13/19 @ 1 :30 PM


          07/17/2019 ORDER-SCHEDULING ^


          ORDER-SCHEDUUNG

            Comment
            2ND AMENDED


          07/25/2019 CORRESPONDENCE - LETTER TO FILE ^


          REQUEST FOR THE ENTIRE CASE DOCUMENT AND CERTSFIED COPIES

            Comment
            REQUEST FOR THE ENTIRE CASE DOCUMENT AND CERTIFIED COPIES


          07/26/2019 NOTICE - TAKE DEPOSITION ^


          NOTICE OF INTENTION TO TAKE DEPOSiTION BY WRITTEN QUESTIONS

            Comment
            NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS


          07/26/2019 NOTICE - TAKE DEPOSITION ^


          NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS

            Comment
            NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS


          07/26/2019 NOTICE -TAKE DEPOSITION ^


          NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS

            Comment
            NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS


          05/12/2020 JURY TRIAL ^


          3 CCL#3 JURY TRiAL NOTICE

          3 CCL#3 JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOT!CE

          3 CCL^S JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOTICE

https://(,:ourtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#Caselnformation 8/11
8/2/2019                                                                 Details
              Case  3:19-cv-01857-L Document 1-4 Filed 08/05/19
              3 CCL#3 JURY TRIAL NOTICE
                                                                                         Page 9 of 11 PageID 20

               3 CCL#3 JURY TRIAL NOTICE

               Judicial Officer
               MONTGOMERY, SALLY

               Hearing Time
               9:00 AM




            Financial

            JARIWALA, BHUMI
                 Total Financial Assessment                                                               $281.00
                   Total Payments and Credits                                                             $281.00


              11/21/2018 Transaction Assessment                                                          $277.00

              11/21/2018 CREDIT CARD - TEXFILE                Receipt # CV-2018-         JARIWALA,      ($277.00)
                                  (CC)                        14980                      BHUMI

              1/14/2019 Transaction Assessment                                                             $4.00

              1/14/2019 CREDIT CARD - TEXFILE                 Receipt # CV-2019-         JARIWALA,        ($4.00)
                                  (CC)                        00529                      BHUMI
            JARSWALA, MANiSH
                 Total Financial Assessment                                                               $180.00
                   Total Payments and Credits                                                             $180.00


              11/30/2018          Transaction Assessment                                                 $180.00

              11/30/2018          CREDIT CARD - TEXFILE       Receipt # CV-2018-         JARIWALA,      ($180.00)
                                  (CC)                        15295                      MANISH
            BMW OF NORTH AMERICA. LLC
                 Total Financial Assessment                                                               $590.00
                   Total Payments and Credits                                                             $590.00


              2/1/2019 Transaction                                                                        $40.00
                              Assessment

              2/1/2019        CREDIT CARD -                Receipt # CV-2019- BMW OF NORTH               ($40.00)
                              TEXFILE (CC)                 01532 AMERICA, LLC

              7/25/2019 Transaction                                                                      $550.00
                              Assessment

              7/25/2019 CREDIT CARD -                      Receipt # CV-2019- BMW OF NORTH              ($550.00)

https://courtsponal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#Caselnformation                              9/11
8/2/2019                         Details
         Case 3:19-cv-01857-L Document 1-4 Filed 08/05/19 Page 10 of 11 PageID 21
                   TEXFILE (CC) 10186 AMERICA, LLC




        Documents



          PLTF'S ORIGINAL PETITION
          CIVIL CASE INFORMATION SHEET

          PLAINTIFFS REQUEST FOR ISSUANCE OF CITATION AND SERVICE OF CONSTABLE

          NOTE FOR $4,00 CiTATION PAYMENT
          LETTER TO REQUEST

          SSSUE CITATSON

          !SSUE CITATION

          RETURN OF SERVICE

          ORIGINAL ANSWER

          JURY DEMAND

          ORIGINAL ANSWER
          RETURN OF SERVICE

          RESPONSE
          CORRESPONSE LETTER TO FILE

          CORRESPONSE LETTER TO FILE

          MOTION TO COMPEL
          PROPOSED ORDER TO COMPEL

          NOTiCE OF HEARING
          3 CCL#3 JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOTICE
          ORDER-MEDiATION

          ORDER-SCHEDULING
          EXHIBIT 1

          EXHIBIT 2
          MOTION TO ENTER ORDER

          NOTICE OF HEARING

          1 ST AMENDED ANSWER

          EXHIBIT

https:/fcourtsportal.dalla5county.org/DALLASPROD/Home/WorkspaceMode?p=0#Caselnformation 10/11
8/2/2019                         Details
         Case 3:19-cv-01857-L
          MOTION TO COMPEL    Document 1-4 Filed 08/05/19         Page 11 of 11 PageID 22
          NOTICE OF HEARING

          PLAINTIFFS' RESPONSE TO DEFENDANT RHSMA INVESTMENTS' MOTION TO COMPEL
          ARBITRATION
          SUPPLEMENT TO PLAINTIFF'S ORIGSNAL PETITION
          SECOND AMENDED ANSWER

          3RD AMENDED ANSWER

          EXHIBIT 1

          EXHIBIT 2

          EXHIBITS

          MOTION OF DEFENDANT BMW OF NORTH AMERICA, LLC FOR ENTRY OF AMENDED DOCKET
          CONTROL ORDER

          NOTICE OF HEARING MOTION FOR ENTRY OF AMENDED DOCKET CONTROL ORDER

          RULE 11 AGREEMENT

          NOTICE OF HEARING

          FOURTH AMENDED ANSWER

          PROPOSED ORDER FOR LEAVE

          MOTION FOR LEAVE

          PROPOSED ORDER FOR LEAVE

          MOTION FOR LEAVE
          NOTICE OF JOINSNG DEFENDANT BMW OF NORTH AMERICA, LLC'S MOTiON FOR LEAVE TO JOIN
          ADDITIONAL PARTY

          ORDER-SCHEDULING
          MOTiON FOR PARTIAL DISMISSAL

          RETURN OF SERVICE
          RETURN OF SERVICE

          3 CCL#3 JURY TRIAL NOT!CE
          3 CCL#3 JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOTICE

          3 CCL#3 JURY TRIAL NOTiCE

          3 CCL#3 JURY TRiAL NOTICE
          ORDER-SCHEDULING

          REQUEST FOR THE ENT!RE CASE DOCUMENT AND CERTIFIED COPIES

          NOTICE OF INTENTION TO TAKE DEPOSIT!ON BY WRITTEN QUESTIONS
          NOTICE OF INTENTiON TO TAKE DEPOSITION BY WRITTEN QUESTIONS
          NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS




https://courtsportal.dallascounty.org/DALLASPROD/HomeA/VorkspaceMode?p=0#Caselnformation 11/11
